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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION


LITTLE ROCK SCHOOL DISTRICT, et al.                        PLAINTIFFS

                         No. 4:82-cv-866-DPM

PULASKI COUNTY SPECIAL SCHOOL
DISTRICT, JACKSONVILLF/NORTH
PULASKI SCHOOL DISTRICT, et al.                          DEFENDANTS

EMILY McCLENDON, TAMARA EACKLES,
VALERIE ST ALLIN GS, TIFFANY ELLIS,
and LINDA MORGAN                                        INTERVENORS


                                ORDER
     The Court appreciates PCSSD' s summer 2024 facilities report.
No objection has been filed to it.             Congratulations on the
Mills-expansion groundbreaking. The Court commends the creation
of the drone videos, as well as their posting on social media. This
modern touch, along with the community meetings, helps keep the
public informed of the progress. All appears to be on track. Continue
the good work. Facilities report, Doc. 5846, approved.
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So Ordered.


                            D .P. Marshall Jr.
                            United States District Judge




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